                    Case 1:06-cr-00031-DHB-BKE Document 140 Filed 05/02/07 Page 1 of 8
AO 245B (Rev 12/03) Judgment in a Criminal Case
          Sheet 1

                                                                                                                   FILED
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                                                                                                                SDISTRICT
                                     United States District Court ._. ~
                                                   SOUTHERN DISTRICT OF GEORGIA
                                                        AUGUSTA DIVISION                                       iTA1: MAY --2 P I-- ID S
          UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CAS
                                                                                                           CLERY,
                Timothy L. Worthen                                             Case Number :          CR106-00031-00 1

                                                                               USM Number :           12563-02 1

                                                                              Joseph H. Huff
                                                                              Defendant's Attorney


THE DEFENDANT :
       pleaded guilty to Count(s)- .
       pleaded nolo contendere to Count(s) - which was accepted
       by the court .
[X] was found guilty on Counts lrrs and 2rrs after a plea of not guilty .

The defendant has been convicted of the following offenses :


           Title & Section Nature of Offense Offense Ended Count

      21 U .S .C. §§ 846, 841 ( a)(1), Conspiracy to possess with intent to dist ribute January 12 , 2006 1rrs
                  and 851 over 5 kilograms of cocaine hydrochlorid e

      21 U .S .C . §§ 841(a)(1), and Possession with intent to distribute over 500 January 12, 2006 2rrs
                    851 grams of cocaine hydrochloride

       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

[]        The defendant has been found not guilty on count(s)- .
[ ]       Count(s), .,.. (is)(are) dismissed on the motion of the United States .


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .




                                                                                    Dudley H . Bowen, Jr.
                                                                                    United States District Judge
                                                                                    Name and Title of Judg e



                                                                                    Date
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        Sheet 2 - Imprisonment

DEFENDANT : Timothy L. Worthen
CASE NUMBER : CR1 06-00031 -00 1

                                                    IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of. 240 months as to each of Counts lrrs and 2rrs to be served concurrent) .

II        The Court makes the following recommendations to the Bureau of Prisons :


[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this district :

          [ ] at _ [ ] a .m . [ ] p.m. on
          [ ] as notified by the United States Marshal .

[ ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :

          [ ] before 2 p .m. on
          [ ] as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office .
                                                       RETURN
          I have executed this judgment as follows :




          Defendant delivered on to
at , with a certified copy of this judgment .




                                                                                     United States Marshal


                                                                            By
                                                                                  Deputy United States Marshal
                    Case 1:06-cr-00031-DHB-BKE Document 140 Filed 05/02/07 Page 3 of 8
AO 245B (Rev 12/03) Judgment in a Criminal Case Judgment-Page 3 of 7
       Sheet 3 - Supervised Releas e


DEFENDANT : Timothy L. Worthen
CASE NUMBER : CR 106-00031-001
                                                            SUPERVISED RELEAS E
Upon release from imprisonment, the defendant shall be on supervised release for a term of . 10 years on each count, to be served concurrently .

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit another federal, state , or local crime.

The defendant shall not unlawfully possess a controlled substance . The defendant shall refrain from any unlawful use of a controlled substance . The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.


II        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse .
           (Check, if applicable . )

[X] The defendant shall not possess a firearm , destructive device , or any other dangerous weapon. (Check, if applicable.)

[X] The defendant shall cooperate in the collection of DNA as directed by the probation officer . (Check, if applicable. )

[ ] The defendant shall register with the s tate sex offender registration agency in the state where the defend ant resides, works, or is a student, as
       directed by the probation officer. (Check, if applicable.)

          The defendant shall participate in an approved . program for domestic violence . (Check, if applicable. )

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page .

                                             STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer ;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer ;

4) the defendant shall support his or her dependents and meet other family responsibilities ;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
          reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment ;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician ;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered ;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer ;

11) the defendant shall notify the probation officer wi thin seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendan t shall not enter into an y agreement to act as an informer or a special agent of a law enforcement agency without the permission
          of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defend ant 's criminal record
        or personal history or characteristics an d shall permit the probation officer to make such noti fi cation and to con fi rm the defendant' s compli ance
        with such notification requirement; and

14) Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release .
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AO 245E (Rev 12/03) Judgment in a Criminal Case :   Judgment-Page                              4     of        7
        Sheet 3C - Supervised Release


DEFENDANT: Timothy L. Worthen
CASE NUMBER: CR106-00031-00 1



                                         SPECIAL CONDITIONS OF SUPERVISIO N


1 . The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
        determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
        abuse.

2. The defendant shall submit his person, residence , office, or vehicle to a search conducted by a United States
    probation officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
    contrab an d or evidence of a violation of a condition of release ; failure to submit to a search may be grounds
    for revocation . The defendant shall warn any other residents that the premises may be subject to searches
    pursuant to this condition .

3 . A curfew is imposed as a special condition of supe rvised release. The defendant shall not leave his
      residence from 10:00 p .m. until 6 :00 a.m. during the period of supervision except when such leave is
      approved in advance by the probation officer.


                                                    ACKNOWLEDGMEN T

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision .

These conditions have been read to me . I fully understand the conditions and have been provided a copy of them.



    (Signed)
                   Defendant                               Dat e




                   U. S . Probation Officer/Designated Witness Date
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AO 245B (Rev 12/03) Judgment in a Criminal Case :   Judgment-Page                                                     5       of          7
       Sheet 5 - Criminal Monetary Penaltie s


DEFENDANT : Timothy L . Worthen
CASE NUMBER: CR 106-00031 -001
                                             CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .
                                                          Assessment Fine Restitutio n

 Totals :                                                         $200 $10,000

    The determination of restitution is deferred until         An Amended Judgment in a Criminal Case (AO 245C) will be entered after
        such a determination .

[ ] The defendant must make restitution (including community restitution) to the following payees in the amounts listed below .

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below . However, pursuant to 18 U .S .C . § 3664(i), all nonfederal
        victims must be paid before the United States is paid .


            Name of Payee Total Loss*                                      Restitution Ordered Priority or Percentag e



               Totals:


[ ] Restitution amount ordered pursuant to plea agreement                    $

[ ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
         the fifteenth day after the date of judgment, pursuant to 18 U .S .C . § 3612(f) . All of the payment options on Sheet 6 maybe subject
         to penalties for delinquency and default pursuant to 18 U .S .C . § 3612(g).
[X] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          [X] The interest requirement is waived for the [X] fine [ ] restitution.
          [ ] The interest requirement for the [ ] fine [ ] restitution is modified as follows :


* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996 .
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AO 245B (Rev 12/03) Judgment in a Criminal Case :                                                                                Judgment-Page 6 of 7
        Sheet 6 - Criminal Monetary Penaltie s


DEFENDANT : Timothy L. Worthen
CASE NUMBER : CR 106-00031-001
                                                     SCHEDULE OF PAYMENT S

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows :

A [X] Lump sum payment of $200 due immediately, balance du e

           [ ] not later than _ ; or
           [X] in accordance with [ ] C, [ ] D, [ ] B, or [X] F below ; or

B [ ] Payment to begin immediately (may be combined with [ ] C, [ ] D, or [ ] F below) ; or

C[ ] Payment in equal - (e .g., weekly, monthly, quarterly) installments of Lover a period of _ (e .g ., months or years), to commence
       - (e.g ., 30 or 60 days) after the date of this judgment;    or                -


D[ ] Payment in equal _ ( e.g ., weekly, monthly , quarterly) installments of Lover a period of_ (e .g ., months or years), to commence
       _(e .g ., 30 or 60 days ) after release fr om imprisonment to a term of supervision ; o r

E[ ] Payment during the term of supervised release will commence within _ (eg ., 30 or 60 days) after release from imprisonment,
       the court will set the payment plan based on an assessment of the defendant's ability to pay at that time ; o r

F [X] Special instructions regarding the payment of criminal monetary penalties : While in the custody of the Bureau of Prisons, the
        defendant shall make payments of either quarterly installments of a minimum of $25 if working non-UNICOR or a minimum of
        50 percent of monthly earnings if working UNICOR . Upon release from imprisonment and while on supervised release, the
        defendant shall make minimum monthly payments of $ 100 over a period of 100 months . Payments are to be made payable
        to the Clerk, United States District Court .



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment . All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court .
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed .


I         Joint and Severa l
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate :



II        The defendant shall pay the cost of prosecution .

          The defendant shall pay the following court cost(s) :



          The defendant shall forfeit the defendant' s interest in the following property to the United States :



Payments shall be applied in the following order : (1) assessment; (2) restitution principal ; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution ; (7) penalties, and (8) costs, including cost of prosecution and court costs .
                   Case 1:06-cr-00031-DHB-BKE Document 140 Filed 05/02/07 Page 7 of 8
AO 245E (Rev 12/03) Judgment in a Criminal Case :                                                                        Judgment-Page 7 of 7
       Sheet 7 - Denial of Federal Benefi ts


DEFENDANT : Timothy L . Worthen
CASE NUMBER : CR106-00031-001

                                             DENIAL OF FEDERAL BENEFIT S
                                   (For Offenses Committed On or After November 18, 1988)
FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)

          IT IS ORDERED that the defendant shall be:

[X] ineligible for all federal benefits for a period of 10 years

[ ] ineligible for the following federal benefits for a period of
          (specify benefit(s)) -
                                                                       OR
II        Having determined that this is the defendant`s third or subsequent conviction for distribution of controlled substances, IT IS
          ORDERED that the defendant shall be permanently ineligible for all federal benefits .

FOR DRUG POSSESSORS PURSUANT TO 21 U .S.C. § 862(b)

          IT IS ORDERED that the defendant shall :

     be ineligible for all federal benefits for a period of _ .

     be ineligible for the following federal benefits fora period of
         (specify benefit(s)) -



          I         successfully complete a drug testing and treatment program .


          I         perform community service, as specified in the probation and supervised release portion of this judgment .


          II        Having determined that this is the defendant's second or subsequent conviction for possession of a controlled substance,
                    IT IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service
                    specified in this judgment as a requirement for the reinstatement of eligibility for federal benefits .

   Pursuant to 21 U .S .C. § 862( d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,
disability, veterans benefit , public housing, or other similar benefit , or any other benefit for which payments or services are
required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to :

                            U .S . Department of Justice , Office of Justice Programs, Washington, DC 20531 .
         Case 1:06-cr-00031-DHB-BKE Document 140 Filed 05/02/07 Page 8 of 8
                        United States District Court
                                 Southern District of Georgia
   UNITED STATES OF AMERICA

               vs.                                       CASE NO. 1 :06-cr-031- 1
   TIMOTHY L . WORTHEN



The undersigned, a regularly appointed and qualified deputy in the office of this Clerk of this
District, while conducting the business of the Court for said Division does hereby certify the
following :
         1 Pursuant to instructions from the court, and in the performance of my official
                duties, I personally placed in the U .S . Mail a sealed envelope bearing the lawful
                frank of the Court, and properly addressed to each of the persons, parties or
                attorneys listed below ;
                and
         2 . That the aforementioned envelope(s) contain a copy of the documents known as
                  Judgment                                   dated 5/2/07         , which is
                 part of the official records of this case .


Date of Mailing :     5/2/07
Date of Certificate : 5/2/0 7


                                                       SCOTT L . POFF, CLERK

                                                       By       ;,, ,   c9,~
NAME :
    Timothy L . Worthen
    Joseph H . Huff
    collections (2 cert cys)




   Cert/Copy                                                  Cert/Copy
    ❑ ®      District Judge                                    ❑ ❑        Dept. of Justic e
    ❑ ❑      Magistrate Judge                                  ❑❑         Dept. of Public Safety
    ❑ ❑      Minutes                                           ❑❑         Voter Registrar
    ® ❑      U .S . Probation                                  ❑ ❑        U .S . Court of Appeals
    ® ❑        U .S . Marshal                                  ❑ ❑        Nicole/Debbi e
    ® ❑        U .S . Attorney                                 ❑ ❑        Ray Staley
    ❑ ❑        JAG Office                                      ❑ m        Cindy Reynolds
